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8                           UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
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11   CHRIS LANGER,                               Case No. 2:19-cv-10223-FLA (SKx)
12                            Plaintiff,
                                                    ORDER GRANTING IN PART
13               v.                                 PLAINTIFF’S MOTION FOR
14                                                  ATTORNEY’S FEES [DKT. 111]
     4270 ATLANTIC, L.L.C., et al.,
15
                              Defendants.
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18                                          RULING
19         Before the court is Plaintiff Chris Langer’s (“Plaintiff” or “Langer”) Motion
20   for Attorney’s Fees (“Motion”). Dkt. 111 (“Mot.”). On September 9, 2021, the court
21   found this matter appropriate for resolution without oral argument and vacated the
22   hearing set for September 10, 2021. Dkt. 114; see Fed. R. Civ. P. 78(b); Local Rule
23   7-15. For the reasons stated herein, the court GRANTS IN PART Plaintiff’s Motion
24   and AWARDS Plaintiff attorney’s fees and costs in the total amount of $17,881.35.
25                                     BACKGROUND
26         Plaintiff Langer is a California resident with physical disabilities who uses a
27   wheelchair for mobility. Dkt. 1 (“Compl.) ¶ 1. In October 2019, Plaintiff visited
28   Giltcomplex Antiques and Red Wing Shoes, located in Long Beach, California, a

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1    place of public accommodation. Id. ¶ 8. Giltcomplex Antiques and Red Wing Shoes
2    is owned and operated by Defendant 4270 Atlantic, L.L.C. (“Defendant” or “4270
3    Atlantic”). Dkt. 111-1 (“Mot. Br.”) at 1. At the time of Plaintiff's visit, Defendant
4    failed to provide accessible parking in violation of the Americans with Disabilities
5    Act (“ADA”) Standards. Compl. ¶ 10.
6          On December 3, 2019, Plaintiff filed suit against Defendant for violations of
7    the ADA and California’s Unruh Civil Rights Act (“Unruh Act”), Cal. Civ. Code
8    §§ 51-53. Compl. ¶¶ 19-29. On April 24, 2020, the court declined to exercise
9    supplemental jurisdiction over Plaintiff’s Unruh Act claims. Dkt. 35.
10         On July 9, 2021, the parties filed a Notice of Settlement with the court. Dkt.
11   102. The notice stated the parties reached “a partial settlement … as to damages
12   only.” Id.
13         On August 6, 2021, Plaintiff filed the instant Motion seeking an award of
14   attorney’s fees. Dkt. 111. Defendant opposes the Motion. Dkt. 112 (“Opp’n”).1
15                                       DISCUSSION
16   I.    Legal Standard
17         The ADA permits a court “in its discretion” to award attorney’s fees and costs
18   to the “prevailing party.” 42 U.S.C. § 12205. In civil rights cases, courts utilize the
19   lodestar method to determine a proper fee award. See Muniz v. United Parcel Serv.,
20   Inc., 738 F.3d 214, 222 (9th Cir. 2013). “[T]he lodestar amount is calculated by
21   multiplying “the number of hours reasonably expended on the litigation by
22   a reasonable hourly rate.” Vogel v. Harbor Plaza Ctr., LLC, 893 F.3d 1152, 1160
23   (9th Cir. 2018) (emphasis in original). “A district court should exclude from the
24   lodestar amount hours that are not reasonably expended because they are ‘excessive,
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27    Plaintiff objects that the Opposition is untimely. Dkt. 113 (“Reply”) at 1. As
     Plaintiff does not demonstrate he was prejudiced by the late filing, the court will
28   exercise its discretion to consider the Opposition.
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1    redundant, or otherwise unnecessary.’” Van Gerwen v. Guarantee Mut. Life Co., 214
2    F.3d 1041, 1045 (9th Cir. 2000) (quoting Hensley v. Eckerhart, 461 U.S. 424, 434
3    (1983)). The court determines whether to increase or decrease the lodestar amount
4    by evaluating the factors enunciated in Kerr v. Screen Extras Guild, Inc., 526 F.2d
5    67, 70 (9th Cir. 1975). These factors include the time and labor required; the novelty
6    and difficulty of the questions involved; the skill needed to perform the legal service
7    properly; the preclusion of other employment by the attorney due to acceptance of the
8    case; the customary fee, whether the fee is fixed or contingent; time limitations
9    imposed by the client or the circumstances; the amount involved and the results
10   obtained; the experience, reputation, and ability of the attorney; the “undesirability”
11   of the case; the nature and length of the professional relationship with the client; and
12   awards in similar cases. Id.
13   II.   Analysis
14         Plaintiff seeks attorney’s fees of $62,722.50, after a 1.5 lodestar multiplier is
15   applied, and $3,088.85 in costs, for a total award of $65,811.35. Mot. Br. 20.
16   According to the billing records submitted (“Billing Statements”), eleven attorneys
17   billed a total of 84.5 hours and paralegals billed a total of 37.1 hours on this case.
18   Dkt. 111-4; Dkt. 113-4.
19         Defendant requests the court deny the Motion on grounds including that
20   Plaintiff has not pleaded sufficient facts to state an ADA claim. Opp’n 6-16.
21   Plaintiff presents evidence that Defendant executed a settlement agreement in which
22   it agreed to pay Plaintiff’s reasonable attorney’s fees and costs as determined by the
23   court. Dkt. 111-5 at §§ 2.5, 4. While Defendant reserved the right to argue the
24   reasonableness of any fees or costs sought by Plaintiff, Defendant did not retain the
25   right to challenge Plaintiff’s entitlement to a fee award. See id. § 4.
26         As Defendant agreed to pay Plaintiff’s reasonable attorney’s fees, the court
27   finds Defendant waived its right to challenge Plaintiff’s right to bring the Subject
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1    Motion, and the court will only consider Defendant’s arguments concerning the
2    reasonableness of the amount of attorney’s fees and costs requested.
3          A.     Reasonableness of Hourly Rates Requested
4          Once a party has established that it is entitled to an award of attorney’s fees,
5    “[i]t remains for the district court to determine what fee is reasonable.” Hensley, 461
6    U.S. at 433 (internal quotation marks omitted). Plaintiff has the burden of
7    demonstrating that its requested rates are consistent with the prevailing rates “in the
8    community for similar services by lawyers of reasonably comparable skill,
9    experience, and reputation.” Guam Soc’y of Obstetricians & Gynecologists v. Ada,
10   100 F.3d 691, 696 (9th Cir. 1996). Declarations from community attorneys regarding
11   prevailing market rates are sufficient to establish the appropriate hourly rates. Id.
12         Plaintiff argues the attorneys involved in this matter are skilled and should
13   command rates between $400-$650 per hour. Mot. Br. 3. Plaintiff seeks fees at the
14   following hourly rates: $650 for Russell Handy (“Handy”); $600 for Raymond
15   Ballister (“Ballister”); $550 for Phyl Grace (“Grace”) and Dennis Price (“Price”);
16   $500 for Amanda Seabock and Isabel Masanque (“Masanque”); $450 for Chris
17   Seabock and Elliott Montgomery (“Montgomery”); $400 for Ariel Vento (“Vento”),
18   Bradley Smith (“Smith”), and Zachary Davina (“Davina”); and $100 for work
19   performed by paralegals and assistants. Dkt. 111-4. Mark Potter (“Potter”), the
20   managing partner of Center for Disability Access (“CDA”), attests to the experience
21   and background of Plaintiff’s counsel and paralegals. Dkt. 111-3 (Potter Decl.)
22   ¶¶ 12-23.2
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25     Defendant challenges the Potter Declaration on the grounds that Potter lacks
     personal knowledge sufficient to support Plaintiff’s request for attorney’s fees.
26   Opp’n 14. Potter attests he is the managing partner of CDA, and that he maintains
27   and reviews the firm’s billing records. Dkt. 111-3 (Potter Decl.) ¶ 2. Potter
     establishes sufficient personal knowledge and foundation for the court to consider
28   these business records in connection with the subject Motion.
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1          Plaintiff contends courts have awarded similar rates in other ADA actions to
2    those requested here. Mot. Br. 3-6. In addition, Plaintiff argues these rates are
3    consistent with the rates awarded to other attorneys in the same community. Id. at 8-
4    9.3 However, several recent decisions from courts in this district, dealing with similar
5    construction-related accessibility claims by Plaintiff and his counsel, have granted
6    lower rates than those requested for many of these specific attorneys. E.g., Langer v.
7    Cetina, No. 2:20-cv-04914-VAP (AFMx), 2020 WL 7059624, at *5 (C.D. Cal. Oct.
8    27, 2020) (“Based on its knowledge of rates in this District, the Court finds
9    reasonable an hourly rate of $450.00 for Mr. Potter and Mr. Handy, $375.00 for mid-
10   level associates such as Ms. Seabock, and $325.00 for more junior attorneys such as
11   Ms. Gutierrez.”); Villegas v. Neptune Land LLC, No. 2:20-cv-08106-SB (GJSx),
12   2021 WL 4839571, at * (C.D. Cal. Feb. 9, 2021) (“[G]iven the nature of the work
13   involved, the Court deems reasonable a rate of $450 for Mr. Potter and Mr. Handy,
14   $375 for Ms. Seabock, and $325 for Ms. Gutierrez.”).
15         Having reviewed the submitted evidence and based on each attorney’s
16   background and legal experience, and the routine and assembly-line nature of the
17   legal services performed, the court finds the following hourly rates are reasonable:
18   $450 for Handy; $400 for Price, Ballister, and Grace; $375 for Amanda Seabock and
19   Masanque; $325 for Chris Seabock, Montgomery, Vento, and Smith; $250 for
20   Davina; and $100 for paralegals and assistants. Accordingly, the court will determine
21   the reasonable lodestar based on these rates.
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      Plaintiff additionally contends the hourly rates requested are supported by the 2020
26   Mid-Year Real Rate Report (“RRR”). Mot. Br. 12. Plaintiff, however, did not
27   submit a copy of the 2020 RRR for the court’s consideration. The court, therefore,
     disregards this argument as it is unsupported by the evidence in the record. See Ada,
28   100 F.3d at 696.
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1           B.     Hours Reasonably Incurred
2           “The fee applicant bears the burden of documenting the appropriate hours
3    expended in the litigation and must submit evidence in support of those hours
4    worked.” Gates v. Deukmejian, 987 F.2d 1392, 1397 (9th Cir. 1992). “Counsel for
5    the prevailing party should make a good faith effort to exclude from a fee request
6    hours that are excessive, redundant, or otherwise unnecessary.” Hensley, 461 U.S. at
7    434.
8           This action settled on the eve of trial, after the parties filed their pretrial
9    documents and the court held a final pretrial conference. Dkt. 74. A review of the
10   Billing Statements and the court docket shows the parties engaged in discovery and
11   motion practice, including Plaintiff’s unopposed motion to compel further responses
12   to discovery (Dkt. 59), Defendant’s opposed motion for leave to file an untimely
13   motion for summary judgment (Dkt. 84), and the subject attorney’s fee motion (Dkt.
14   111). The parties also engaged in at least two rounds of mediation before ultimately
15   settling the case on or around June 2, 2021. Dkts. 44, 66, 74.
16          Plaintiff contends his counsel, the CDA, reasonably expended 115.1 hours in
17   litigating this action and an additional 6.5 hours in connection with the reply to the
18   subject Motion, for a total lodestar of $45,390 before a fee enhancement is applied.
19   Mot. Br. 20; Dkt. 111-4 at 28; Dkt. 113-4. While Plaintiff acknowledges a large
20   number of attorneys billed for work in this action, Plaintiff contends the CDA “has
21   created an innovative staffing approach in which each attorney is assigned discrete
22   tasks and able to become experienced in narrow aspects of litigation in a short period
23   of time. Mot. Br. 12-13. According to Plaintiff, his attorneys have exercised
24   judgment to ensure Plaintiff is not requesting fees for any duplication of effort that
25   may have occurred. Id. The court has independently reviewed Plaintiff’s Billing
26   Statements and reduced the awarded fees where appropriate to account for
27   duplicative work performed by separate attorneys.
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1          Defendant challenges the reasonableness of the amount of fees requested, on a
2    number of bases. First, Defendant contends Plaintiff’s requested attorney’s fees are
3    unreasonable because he ultimately settled for a $4,000 statutory payment, which was
4    the same amount as Defendant’s settlement offer, dated June 3, 2020. Opp’n 9, 14
5    (citing Dkt. 112-1). Defendant, thus, requests the court deny Plaintiff fees for any
6    work performed after June 3, 2020. Opp’n 14. Plaintiff responds that his refusal of
7    Defendant’s June 3, 2020 offer was reasonable, as that offer would not have allowed
8    Plaintiff to bring the subject Motion for attorney’s fees. Reply 11. According to
9    Plaintiff, Defendant’s agreement to pay reasonable attorney’s fees and costs
10   constituted a material change in its offer. Id.
11         Defendant’s June 3, 2020 settlement offer was identified as a “firm” offer for
12   $4,000. Dkt. 112-1. This offer was made only three days after Defendant’s prior
13   offer for a total settlement of $1, inclusive of all costs of suit and attorney’s fees.
14   Dkt. 113-3 at 1-2. Defendant does not cite any legal authority for the proposition that
15   it is unreasonable for a plaintiff to refuse a settlement offer and continue to litigate an
16   action when the parties are not in agreement regarding a plaintiff’s attorney’s fee
17   demand. Accordingly, Defendant fails to demonstrate that Plaintiff’s refusal to
18   accept its June 3, 2020 settlement offer was unreasonable, and the court will not
19   reduce the fee award on this basis.
20         Second, Defendant contends Plaintiff’s requested fees are inflated and
21   unreasonable. Opp’n 9-13. In particular, Defendant notes that Plaintiff’s counsel
22   engaged in “block billing,” which Defendant contends makes an analysis of the fee
23   request more difficult and may have led to inflated billing. Opp’n 9-10. Plaintiff
24   responds that his attorneys litigated the action efficiently, including by making
25   significant use of templates and by litigating this and other actions in a routine
26   fashion. Reply 8-9.
27         The court has independently reviewed the Billing Statements, Dkts. 111-4,
28   113-4, and finds the total number of hours billed in this case are excessive and

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1    unreasonable for attorneys with the legal experience and the hourly rates claimed,
2    based on the routine and assembly-line nature of the work performed. This action
3    was one of hundreds of ADA cases filed by Plaintiff and one of hundreds, if not over
4    one thousand, ADA cases filed by the CDA in this district in 2019 alone. As Plaintiff
5    admits, his attorneys make significant use of templates and largely litigate cases in a
6    routine fashion. See Reply 8. This is made abundantly clear by the moving papers
7    here, which include references to documents that were not included with the Motion
8    (such as the 2020 RRR), and which appear to be designed to be easily modified for
9    any case—including by omitting the specific amount of attorney’s fees and costs
10   requested until the final two pages of the supporting memorandum. See Dkt. 111-1.
11         Plaintiff’s Billing Statements show that a significant amount of the work in this
12   action was performed by attorneys claiming senior-associate or partner-level hourly
13   rates, which could have been performed by more junior attorneys. For example,
14   Handy, a co-founder of Plaintiff’s law firm, billed 3 hours in connection with
15   prefiling tasks, 5.7 hours in connection with unspecified “case management,” and 0.8
16   hours in connection with reviewing Defendant’s Answer. Dkt. 111-4 at 25. The
17   Billing Statements show Handy was the attorney who drafted the Complaint,
18   presumably using his firm’s template—which is a task that could have easily been
19   performed by a junior associate or paralegal. See id. at 2. A review of the court’s
20   CM/ECF system reveals that Plaintiff’s counsel filed 15 Complaints on behalf of
21   Plaintiff Chris Langer in December 2019 alone, which includes 5 other complaints
22   filed within one week of the Complaint in this action. While Plaintiff’s law firm is
23   free to assign tasks to attorneys in the manner it finds most convenient, the court
24   finds the numbers of hours claimed for certain tasks to be unreasonable given the
25   experience level and hourly rates of the billing attorneys, and the simplistic and
26   redundant nature of those tasks.
27         The court additionally has concerns about the amount of time billed for
28   matters. For example, the Billing Statements indicate attorney Chris Seabock billed

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1      Elliott Montgomery         $325          2.9            1             $325.00
2      Ariel Vento                $325          0.7           0.5            $162.50
3      Bradley Smith              $325         14.7           6.7           $2,177.50
4      Zachary Davina             $250           5             4            $1,000.00
5      Paralegals/Assistants      $100         37.1          15.1           $1,510.00
6      Total                                                                $14,792.50
7          In sum, the court finds Plaintiff reasonably incurred attorney’s fees in the
8    lodestar amount of $14,792.50.
9          C.     Request for a Fee Enhancement and the Kerr Factors
10         Plaintiff argues the Kerr factors support a 1.5 multiplier because: (1) it litigated
11   this case up to trial; (2) the ADA is complex, such that “only a handful of attorneys”
12   have expertise in ADA cases; (3) the risk of non-payment in such a case; and (4) the
13   undesirability of a “small dollar” case. Mot. Br. 14-19. The court disagrees.
14         The length of time this case was litigated and the amount of attorney’s fees
15   incurred reasonably in preparation for trial have already been taken into account in
16   the court’s lodestar determination stated above. Further, this action was not
17   particularly complex, as it involved only a short, boilerplate Complaint regarding an
18   accessible parking space. See generally Compl. Nor, did this action involve a unique
19   aspect of ADA litigation.
20         Finally, the court notes that Plaintiff has filed hundreds and Plaintiff’s counsel
21   has filed thousands of similar actions in this district alone—with the vast majority of
22   these actions ending in settlement. This type of serial litigation, which is brought on
23   behalf of Plaintiffs who file dozens or hundreds of similar actions using largely
24   duplicative and template complaints, discovery, and filings, and which almost always
25   result in settlements, is not the type of action appropriate for a fee enhancement under
26   Kerr, 526 F.2d at 70.
27         Having considered the time and labor required, the novelty and difficulty of the
28   questions involved, and the skill required to perform the legal services rendered here,
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1    the court DECLINES to apply a lodestar multiplier. The court also DENIES
2    Defendant’s request for a negative multiplier, finding Defendant has not
3    demonstrated one is warranted here. See Opp’n 14-15.
4          D.     Reasonable Costs
5          Finally, Plaintiff seeks $3,088.85 in costs. Mot. Br. 19. This includes $400 for
6    filing fees; $200 for investigation costs; $709.21 for printing trial documents; and
7    $1,779.64 to retain an expert to conduct site inspections at the property. Id.
8    Defendant does not challenge Plaintiff’s requested costs in the Opposition, and the
9    court, therefore, finds these costs are reasonable.
10                                       CONCLUSION
11         For the foregoing reasons, the court GRANTS IN PART Plaintiff’s Motion for
12   Attorney’s Fees and AWARDS Plaintiff attorney’s fees of $14,792.50 and costs of
13   $3,088.85, for a total award of $17,881.35. The court DENIES as moot Defendant’s
14   request for judicial notice (Opp’n 3-6).
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16         IT IS SO ORDERED.
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18   Dated: September 1, 2022
19                                                ______________________________
20                                                FERNANDO L. AENLLE-ROCHA
                                                  United States District Judge
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